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QUINN EMANUEL UR UHART OLIVER & HEDGES, LLP
Frederick A. Lorig_(Bar 0. 057645)

 

 

 

 

 

 

 

 

 

 

 

 

 

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rc; 113 UNITED STATES DISTRICT COURT
3 CENTRAL DISTRICT OF CALIFORNIA
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WESTERN DIVISION
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TELEDYNE TECHNOLOGIES CASE NO. 06-06803-1\/H\/1M (SHX)
14 INCORPORATED, a Delaware
corporation, FIRST AMENDED COMPLAINT FOR:
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Plaintiff, 1 PATENT INFRINGEMENT;
16 2 BREACH OF CONTRACT;
vs. 3 MISAPPROPRIATION OF TRADE
17 SECRETS;
HONEYWELL INTERNATIONAL, 4) COMMON LAW
18 INC., a Delaware corporation, MISAPPROPRIATION;
5) INTENTIONAL INTERFERENCE
19 Defendant. WITH PROSPECTIVE ECONOMIC
ADVANTAGE;
20 6) NEGLIGENT INTERFERENCE
WITH PRQ§P§CTIVE ECONOMIC
21 AL)vAN 1 Am;;
7) INTENTIONAL
22 MISREPRESENTATION; and
8) NEGLIGENT
23 MISREPRESENTATION.
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DEMAND FOR JURY TRIAL
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Plaintiff Teledyne Technologies Incorporated ("Teledyne"), for its First

Amended Complaint herein, alleges as follows:

 

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NATURE OF THE CASE

l. Plaintiff Teledyne brings this action seeking injunctive relief and
damages for Defendant's breach of contract, misappropriation of trade secrets,
intentional and negligent interference with prospective economic advantage, and
intentional and negligent misrepresentation concerning Teledyne's technology for
the automatic acquisition and transmission of aircraft data for analysis and
maintenance Teledyne also seeks relief for Defendant's unauthorized manufacture,
use, sale, and offer for sale of products that infringe a Teledyne patent directed to

such technology.

THE PARTIES

2. Plaintiff Teledyne is a corporation organized and existing under the
laws of the State of Delaware. Teledyne's principal place of business is located at

1049 Camino Dos Rios, Thousand Oaks, California 91360.

3. Defendant Honeywell International, Inc. ("Honeywell") is a corporation

 

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organ1zed and existlng under the laws of the State of Delaware. Honeywell's
principal place of business is located at 101 Columbia Road, Morris Township, New

Jersey 07962.

JURISDICTION AND VENUE

4. This action arises under the patent laws of the United States, 35 U.S.C.
§ 271. This Court has jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

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and 1338(a)-(b), and pursuant to its powers of supplemental and pendent
jurisdiction, 28 U.S.C. § 1367.
5. Venue is proper in this district under 28 U.S.C. §§ 1391(b)-(c) and

 

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1400(b).

FACTUAL BACKGROUND

 

Teledyne's Business

6. Teledyne is a leading provider of sophisticated electronic components,
instruments, and communication products, including defense electronics, data
acquisition and communications equipment for airline and business aircraft,
monitoring and control instruments for industrial and environmental applications
and components, and subsystems for wireless and satellite communications

7. Teledyne Controls, a business unit of Teledyne, specifically focuses on
the design and manufacture of avionics and ground-related electronic systems for
commercial air transport, business and regional aviation, government, and defense
applications, and has been a leader in that industry for over 40 years. lts product
lines include such technologies as data acquisition and management systems, data
recording and transfer systems, flight safety and training solutions, aircraft

information systems, and airport systems. (Teledyne Controls, as a business unit of

 

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leledyne, is also referred to herein as " l eledyne").

8. Among the many innovations that Teledyne has developed for the
aviation industry are systems that permit aircraft data, such as flight performance
and maintenance characteristics, to be automatically transferred from an aircraft
after the aircraft lands. Alternative methods for obtaining and transferring Such data
require either extensive human involvement in downloading and/or transporting the
data to a Site for analysis, or the installation of costly infrastructure at each airport

and/or terminal gate at which the data is to be obtained. In contrast, Teledyne's

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novel and elegant solution utilizes the preexisting cellular infrastructure for mobile
telephones to receive wireless transmission of the data from the aircraft, and to

direct that data, for example through the Internet. to any desired location in`the

 

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world for analysis. Teledyne's cost-efficient method allows almost immediate
access to the data for analysis, and eliminates the often-lengthy delays and
uncertainty inherent in alternative methods of transferring this data.

9. These Teledyne systems also permit the wireless transfer of
information and files to an aircraft over the cellular infrastructure, which can be
used, for example, to update software and other files on the aircraft.

10. Teledyne markets products utilizing this wireless data transfer
technology under its Wireless GroundLink® ("WGL") brand. These products have
been highly successth and have been enthusiastically accepted by the airline
industry.

11. For its innovation in developing its wireless data transfer technology,
Teledyne was rewarded by the United States Patent and Trademark Offlce with
United States Patent No. 6,181,990 (the "'990 patent"), entitled "Aircraft Flight Data
Acquisition and Transmission System." (A true and correct copy of the '990 patent
and its associated reexamination certificate are attached to this Complaint as Exhibit
A.). '

12. Teledyne marks and has marked the '990 patent on its WGL products.

 

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The Confldential Disclosure Agreement

13. On information and belief, in or about November 2002, Honeywell
recognized the problems inherent in other methods of obtaining and transferring
aircraft data and sought a solution. In particular, Honeywell sought a cost-effective
and reliable means and method for automatically transferring aircraft data from an

aircraft after the aircraft lands anywhere in the world.

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14. The same month, November 2002, Steve Kersh, Customer Support
Program Manager for Honeywell, contacted Tamas Igloi of Teledyne. During their

conversation, Mr. Kersh expressed interest to Mr. Igloi in meeting for the purpose of

 

discussing Teledyne's wireless data transfer technology, and for devising a solution
to Honeywell's data transfer needs. Mr. Kersh represented that Honeywell was
interested in pursuing a business relationship with Teledyne with respect to these
issues.

15. Thereafter, on or about November 22, 2002, Teledyne and Honeywell,

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through its Honeywell Engines, Systems & Services business unit, entered into a

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Conf`idential Disclosure Agreement ("Agreement"). The Agreement stated that

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Teledyne "is a manufacturer of Wireless Ground Link and possesses certain

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information, data, and experience relating thereto . . . which it considers to be

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confidential, proprietary, and a valuable commercial asset of' Teledyne. The

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Agreement further stated that its purpose was "to facilitate discussions between the

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[Parties] . . . to enable the [Parties] to technically evaluate the other's [information]

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for the purpose of discussing possible application of the Wireless Ground Link

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product to transmit engine data for processing and of furthering the business

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relationship between the [Parties]." (A true and correct copy of the Agreement is

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attached to this Complaint as Exhibit B and is incorporated herein by reference).

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16. Under the Agreement, Honeywell was obligated to "not disclose

 

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['1`eledyne information] to other than its officers and employees who need to receive

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such [information] for purposes of discussion, and who are informed of the

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obligations of this Agreement." Honeywell was further obligated to "not use any of

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the [Teledyne information] . . . except as contemplated by this Agreement."

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Teledyne's Trade Secret lnformation

 

17. Following the execution of the Agreement, and in reliance on

 

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Honeywell's representations therein and by Mr. Kersh, the parties entered into
discussions and exchanges concerning the application of Teledyne's WGL
technology to transmit Honeywell engine data. During these discussions and
exchanges, Teledyne disclosed confidential and trade secret information to
Honeywell.

18. On December 13, 2002, a meeting was held among senior executives
and other personnel of Honeywell and Teledyne at the offices of Honeywell
Engines, Systems & Services ("HESS") in Phoenix, Arizona. The purpose of the
meeting was for Teledyne to demonstrate to Honeywell how its WGL technology
operated, and how it could provide a cost-efficient and reliable solution to
Honeywell's data transfer needs.

19. Attending the meeting from Teledyne were Ghobad Karimi and Tamas
Igloi. On information and belief, Mr. Karimi was the Director, Flight Data Services,
for Teledyne Controls at that time, and Mr. Igloi was the Marketing Director, Flight
Data Services. Attending the meeting from HESS Were Messrs Vince Trim, Vice
President - Business Aviation Propulsion; Kevin S. Dittmar, Principal Engineer -

New Business, APU Projects Airframe Systems; Paul D. Schmidt, Manager -

 

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Attermarket Maintenance Programs; Kichard Horvath, 1 bh731 Product Line
Manager - Propulsion Systems; and Steve Kersh - Customer Support Program
Manager. Attending from Honeywell Aerospace Electronic Systems was Victor
Vasquez, Sales Manager - Aviation Information Services. Also attending from
Honeywell was Tim Belling, Controls Engineer - Business Aviation.

20. At the meeting, and in reliance on the Agreement and Honeywell's
representations that it intended in good faith to pursue a business relationship with

Teledyne, Teledyne disclosed to Honeywell highly confidential and trade secret

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1 information Specifically, Teledyne disclosed to Honeywell the particular manner
2 and means for creating a wireless data transfer system that would meet Honeywell's
3 specific needs. The confidential and trade secret information disclosed by Teledyne
4 to Honeywell during the meeting (the "trade secret information"), included, without
5 limitation:
6 a) technical details concerning the complete architecture of a
7 proposed System, tailored to Honeywell's requirements, utilizing
8 Teledyne's WGL technology;
9 b) the interfaces for such a system with aircraft systems and
10 engines;
11 c) the environmental specifications, wiring, sensors and activation
12 of such a system;
13 d) the costs associated with implementing the proposed system,
14 including the costs associated with downloading the data;
15 e) information concerning the speed associated with the proposed
16 system's operation, including the speed of downloading the data;
17 f) information concerning the reliability and efficiency of the
18 proposed system's performance;
19 g) the implementation and certification process for the proposed
20 system; and
21 h) information concerning a schedule for implementing leledyne's
22 proposed system, including timeframes for each implementation
23 phase and the steps to be taken during each phase.
24 21. All of this information was highly confidential and proprietary to
25 Teledyne, and provided to Honeywell in reliance on its representations that it

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intended in good faith to pursue a business relationship with Teledyne.

 

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22. Subsequently, a meeting was held in January 2003, at which Mr. Igloi
of Teledyne was introduced by Honeywell to a Honeywell client, NetJets, as being
part of the "partnership" between Honeywell and Teledyne.

 

23. In the normal course, following the December 2002 and January 2003
meetings, a trial of Teledyne's proposed system would have been undertaken on an
aircraft. Indeed, Honeywell's Steve Kersh had talked of such a trial. These trials
usually take between six and nine months to prepare and execute. However, on

February 17, 2003, only two months after Teledyne first explained the system to

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Honeywell, and without even a test trial on an aircraft, Honeywell sent Teledyne a

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Request for Quotation for an aircraft-based TFE731 ECTM Data Download System.
24. On March 28, 2003, Teledyne provided a Technical and Commercial

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Proposal in response to Honeywell's request. Teledyne's Proposal contained further

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confidential documents and information concerning its WGL technology. As with

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all the prior information disclosed by Teledyne to Honeywell, the Proposal was

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provided under the terms of the Agreement and in reliance on Honeywell's

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representations

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25. The trade secrets described above and that were disclosed to Honeywell

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in the December 2002 meeting, the March 2003 Proposal, and various other

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conversations, are not publicly available or ascertainable by Teledyne's competitors

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In addition, Teledyne has devoted substantial efforts and expense to maintain the

 

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confidentiality and security of its trade secrets regarding its technology for the

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automatic acquisition and transmission of aircraft data for analysis and maintenance

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Honeywell's Decision to Breach the Agreement, Misappropriate Teledyne's Trade

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Secret Information, and to Develop an Infringing Svstem

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26. On or about May 13, 2003, Honeywell notified Teledyne that

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Honeywell had supposedly made a decision to use "another source" for a solution to

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its data acquisition and transmission problems rather than the WGL technology
proposed by Teledyne.

27. On information and belief, Honeywell's notice that it intended to use

 

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"another source" was a ruse, and, in fact, Honeywell had intended all along to
manufacture a solution to its data acquisition and transmission problems itself after
receiving confidential and other information from Teledyne. Indeed, on information
and belief, Honeywell's representations that it intended to pursue in good faith a
relationship with Teledyne concerning a solution to Honeywell's data acquisition
and transmission problems were false.

28. On information and belief, in or about June 2005, Honeywell began
marketing and offering for sale its FliteLink Wireless Data Management system
("FliteLink"), both separately and in conjunction with its Flight Data Acquisition
and Management System ("FDAMS"). The FliteLink system automatically
downloads aircraft data from, for example, the FDAMS or other fiight data
recorders and wirelessly transmits such data for analysis from the aircraft after
landing using the existing cellular infrastructure for mobile telephones.

29. On information and belief, Honeywell's manufacture, use, sale, and
offer for sale of the FliteLink system, and the FliteLink system in conjunction with
Honeywell's FDAMS or other such equipment, infringes claims of Teledyne's '990
patent.

 

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30. Un information and belief, in or about August 2006, Honeywell began
marketing and offering for sale its Honeywell Gatelink system. The Gatelink
system automatically downloads aircraft data and wirelessly transmits such data for
analysis from the aircraft after landing using the existing cellular infrastructure for
mobile telephones. In addition, the Gatelink system allows for the transfer of
information and files, using the existing cellular infrastructure for mobile

telephones, to an aircraft.

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31. On information and belief, Honeywell's manufacture, use, sale, and
offer for sale of the Gatelink system, and the Gatelink system in conjunction with

other equipment infringes claims of Teledyne's '990 patent

 

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32. On information and belief, Honeywell has developed, or is currently
developing, a system referred to as its Zing Intelligent Monitoring Network ("Zing")
for wirelessly obtaining Honeywell engine data from a Honeywell TFE731 Digital
Electronic Engine Controller. Discovery may reveal that Honeywell's Zing system
also infringes one or more claims of Teledyne's '990 patent.

33. Honeywell is not licensed or otherwise authorized to make, use, sell, or
offer for sale any system or method claimed in the '990 patent, and Honeywell's

conduct is, in every instance, without Teledyne's consent.

FIRST CLAIM FOR RELIEF
(lnfringement of the '990 Patent - 35 U.S.C. § 271(a)~(c))
34. Teledyne incorporates by reference each and every allegation contained
in paragraphs 1 through 33, as though fully set forth at length.
35. Teledyne owns all right, title, and interest in and to the '990 patent,
including the right to sue thereon and the right to recover for infringement thereof.
36. On information and belief, Honeywell has infringed and is infringing

the '990 patent by making, using, selling, and offering to sell the inventions defined

 

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by one or more claims of this patent.

37. On information and belief, Honeywell is aiding and abetting, and
actively inducing and contributing to, infringement of the '990 patent by its
customers

38. Honeywell's conduct has caused, and unless enjoined will continue to
cause, irreparable injury to Teledyne for which it has no adequate remedy at law.
Teledyne is therefore entitled to a preliminary and permanent injunction restraining

and enjoining Honeywell, its agents, servants, and employees, and all persons acting

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thereunder, in concert with, or on its behalf, from infringing the claims of the '990
patent.

39. As a result of the aforementioned conduct, Teledyne has suffered

 

damages and will imminently suffer further damages, including the loss of its
proprietary information and competitive position. Such damages cannot presently
be ascertained with precision.

40. Upon information and belief, Honeywell's infringement has been and

continues to be willful.

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SECOND CLAIM FOR RELIEF

11 (Breach of Contract)

12 41. Teledyne incorporates by reference each and every allegation contained
13 in paragraphs 1 through 40, as though fully set forth at length.

14 42. On or about November 22, 2002, Teledyne and Honeywell entered into
15 a Confidential Disclosure Agreement ("Agreement").

16 43. Implied in the Agreement is a covenant by Honeywell that it would act
17 in good faith and deal fairly with Teledyne; that it would do nothing to interfere

18 with Teledyne's right to receive the benefit of the Agreement including, without

19 limitation, Teledyne's expectation that the information disclosed pursuant to the

20 Agreement would be used solely in furtherance of a relationship between Teledyne

 

21 and Honeywell; and that Honeywell would place 'l`eledyne's interests concerning

22 Teledyne's technology for the automatic acquisition and transmission of aircraft data
23 for analysis and maintenance on an equal footing With its own interests

24 44. Teledyne has performed all obligations and conditions precedent under
25 the Agreement.

26 45. On information and belief, Honeywell breached the Agreement,

27 including, without limitation, the implied covenant of good faith and fair dealing, by
28 using and disclosing confidential information provided to Honeywell by Teledyne

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under and in accordance with the Agreement for purposes not permitted under the
Agreement. Honeywell has failed to perform its obligations under the Agreement

and committed the acts and omissions alleged hereinabove for the conscious

 

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purpose of withholding from Teledyne the rights and benefits to which it is entitled
under the Agreement.

46. Honeywell's conduct has caused, and unless enjoined will continue to
cause, irreparable injury to Teledyne for which it has no adequate remedy at law.
Teledyne is therefore entitled to a preliminary and permanent injunction restraining
and enjoining Honeywell, its agents, servants, and employees, and all persons acting
thereunder, in concert with, or on its behalf, from disclosing or using any
confidential, proprietary or trade secret information regarding Teledyne's technology
for the automatic acquisition and transmission of aircraft data.

47. As a result of the aforementioned conduct, Teledyne has suffered
damages and will imminently suffer fiirther damages, including the loss of its
proprietary information and competitive position. Such damages cannot presently

be ascertained with precision.

THIRD CLAIM FOR RELIEF
(Misappropriation of Trade Secrets)

48. Teledyne incorporates by reference each and every allegation contained

 

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in paragraphs 1 through 47, as though fully set forth at length.
49. By reason of the foregoing acts, Honeywell has engaged in
misappropriation of Teledyne's trade secrets, without Teledyne's express or implied

consent, in violation of California Civil Code Sections 3426-3426.10.

 

50. Teledyne has developed highly valuable trade secrets regarding
technology for the automatic acquisition and transmission of aircraft data for
analysis and maintenance This information (1) is not generally known to the

public, or to other persons, who could obtain economic value from its disclosure or

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use; (2) derives independent economic value from not being so known, in that it has
been generated over a long period of time through the expenditure of substantial

money. expertise and effort: and (31 is the subject of reasonable efforts by Teledyne

 

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to maintain its secrecy.

51. Teledyne is informed and believes that Honeywell improperly acquired
Teledyne's trade secrets regarding technology for the automatic acquisition and
transmission of aircraft data for analysis and maintenance Honeywell represented
to Teledyne that Honeywell intended to pursue in good faith a relationship with
Teledyne to solve Honeywell's aircraft data acquisition and transmission problems
and requirements On information and belief, these representations were false, and
Honeywell knew that they were false when made On information and belief,
Honeywell in actuality intended to manufacture a solution to its data acquisition and
transmission problems itself after receiving confidential and other information from
Teledyne

52. On information and belief, Honeywell made these representations to
Teledyne with the intent that Teledyne would rely on these representations to enter
into the Confidential Disclosure Agreement with Honeywell and to induce Teledyne
to disclose confidential and other information about Teledyne's wireless data
acquisition and transmission technology to Honeywell.

53. Teledyne is informed and believes that Honeywell has also improperly

 

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disclosed and used Teledyne's trade secrets regarding technology for the automatic
acquisition and transmission of aircraft data for analysis and maintenance Under
the terms of the Agreement, Honeywell was permitted to disclose and use

Teledyne's trade secret information for the sole purpose of "furthering the business
relationship between the [Parties]." Notwithstanding these restrictions, Honeywell
disclosed and used Teledyne's trade secret information for the antithetical purpose of

manufacturing a solution to its data acquisition and transmission problems itself.

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54. Honeywell's conduct has caused, and unless enjoined will continue to
cause, irreparable injury to Teledyne for which it has no adequate remedy at law.

Teledyne is therefore entitled to a preliminary and permanent injunction restraining

 

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and enjoining Honeywell, its agents, servants, and employees, and all persons acting
thereunder, in concert with, or on its behalf, from disclosing or using any
confidential, proprietary or trade secret information regarding Teledyne's technology
for the automatic acquisition and transmission of aircraft data, for any purpose

55. As a result of the aforementioned conduct, Teledyne has also suffered
damages and will imminently suffer further damages, including the loss of its trade
secrets and competitive position. Such damages cannot presently be ascertained
with precision.

56. The aforementioned conduct has been despicable, wanton, oppressive,
willful, malicious, duplicitous, and performed with conscious disregard of
Teledyne's rights and with the intent to deprive Teledyne of its rights Accordingly,
Teledyne is entitled to an award of punitive and exemplary damages pursuant to
California Civil Code Sections 3294 and 3426.3(0), and reasonable attorneys' fees
pursuant to California Civil Code Section 3426.4.

FOURTH CLAIM FOR RELIEF

(Common Law Misappropriation)

 

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57. 'l`eledyne incorporates by reference each and every allegation contained
in paragraphs 1 through 56, as though fully set forth at length.

58. By reason of the foregoing acts, Honeywell has engaged in the
common law tort of misappropriation Teledyne made a substantial investment of
time, effort, and money to develop its trade secrets regarding its technology for the
automatic acquisition and transmission of aircraft data. Honeywell has improperly
obtained these trade secrets from Teledyne and has used them in a manner and for a

purpose not authorized by Teledyne

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FIRST AMENDED coMPLArNr

 

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59. Honeywell's conduct has caused, and unless enjoined will continue to
cause, irreparable injury to Teledyne for which it has no adequate remedy at law.

Teledyne is therefore entitled to a preliminary and permanent injunction restraining

 

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and enjoining Honeywell, its agents, servants, and employees, and all persons acting
thereunder, in concert with, or on its behalf`, from disclosing or using any
confidential, proprietary or trade secret information regarding Teledyne's technology
for the automatic acquisition and transmission of aircraft data, for any purpose

60. As a result of the aforementioned conduct, Teledyne has also suffered
damages and will imminently suffer further damages, including the loss of its trade
secrets and competitive position. Such damages cannot presently be ascertained
with precision.

61. The aforementioned conduct has been despicable, wanton, oppressive,
willful, malicious duplicitous, and performed with conscious disregard of
Teledyne's rights and with the intent to deprive Teledyne of its rights Accordingly,
Teledyne is entitled to an award of punitive and exemplary damages pursuant to

California Civil Code Section 3294 and the common law.

 

FIFTH CLAIM FOR RELIEF
(Intentional Interference With Prospective Economic Advantage)

62. Teledyne incorporates by reference each and every allegation contained

 

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in paragraphs 1 through 61, as though fully set forth at length.

63. On information and belief, there existed an economic relationship
between Teledyne and certain airlines and/or aircraft companies (collectively, the
"airlines"), whereby such airlines were willing to acquire systems incorporating
Teledyne's technology for the automatic acquisition and transmission of aircraft
data, These economic relationships contained the probability of future economic

benefit to Teledyne

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FIRST AMENDED COMPLAINT

 

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64. Gn information and belief, Honeywell knew of the existence of the
economic relationships between Teledyne and the airlines

65. On information and belief. Honeywell intentionally and wrongfully

 

interfered with Teledyne's relationship with the airlines by, inter alia, selling to the
airlines competing systems for the automatic acquisition and transmission of aircraft
data that infringe Teledyne's patent, and that were developed and manufactured
using confidential and trade secret information misappropriated from Teledyne

66. As a direct and proximate result of the aforementioned conduct,

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Teledyne's relationship with the airlines has been disrupted, and Teledyne has been

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deprived of the significant economic benefit of contracting with the airlines for the

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sale of its systems for the automatic acquisition and transmission of aircraft data.

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67. On information and belief, one example of Honeywell's intentional and

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wrongful interference concerns Teledyne's relationship with DB Airlines ("DBA").

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In January 2006, DBA sought tenders for the acquisition of a wireless data

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acquisition system. Both Teledyne and Honeywell tendered bids On information

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and belief, Honeywell's bid involved the use of systems that infringe Teledyne's

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patent, and that were developed and manufactured using Teledyne's misappropriated

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trade secret information.

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68. Within the last month, Teledyne was informed by DBA that it would

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not receive the contract. Rather, DBA informed Teledyne that it would acquire a

 

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wireless acquisition and transfer system from Honeywell. Consequently, Teledyne

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was intentionally and wrongfully deprived of a significant economic benefit because

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of an infringing system that Honeywell developed from Teledyne's own trade secret

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69. As a result of the aforementioned conduct, Teledyne has suffered

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damages and will imminently suffer further damages Such damages cannot

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presently be ascertained with precision.

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FIRST AMENDED COMPLAINT

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70. The aforementioned conduct has been despicable, wanton, oppressive,

willful, malicious, duplicitous, and performed with conscious disregard of

Teledyne's ri hts and with the in n ' ' ` `

 

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Teledyne is entitled to an award of punitive and exemplary damages

SIXTH CLAIM FOR RELIEF
(Negligent Interference With Prospective Economic Advantage)

71. Teledyne incorporates by reference each and every allegation contained
in paragraphs 1 through 70, as though fully set forth at length.

72. On information and belief, there existed an economic relationship
between Teledyne and certain airlines and/or aircraft companies (collectively, the
"airlines"), Whereby such airlines were willing to acquire systems incorporating
Teledyne's technology. These economic relationships contained the probability of
future economic benefit to Teledyne

73. On information and belief, Honeywell knew of the existence of the
economic relationships between Teledyne and the airlines

74. On information and belief, Honeywell wrongfully interfered with
Teledyne's relationship with the airlines by, inter alia, selling to the airlines
competing systems for the automatic acquisition and transmission of aircraft data

that infringe Teledyne's patent, and that were developed and manufactured using

 

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confidential and trade secret information misappropriated from Teledyne

75. lt was reasonably foreseeable that Honeywell's wrongful conduct
would interfere with Teledyne's economic relationships with the airlines if
Honeywell failed to exercise due care.

76. As a direct and proximate result of the aforementioned conduct,
Teledyne's relationship with the airlines has been disrupted, and Teledyne has been
deprived of the significant economic benefit of contracting with the airlines for the

sale of its systems for the automatic acquisition and transmission of aircraft data,

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FIRST AMENDED COMPLAINT

Case 2

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77. As a result of the aforementioned conduct, Teledyne has suffered
damages and will imminently suffer further damages Such damages cannot

presently be ascertained with precision.

 

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SEVENTH CLAIM FOR RELIEF
(Intentional Misrepresentation - Cal. Civ. Code §§ 1709-10 and 1572)

78. Teledyne incorporates by reference each and every allegation contained
in paragraphs 1 through 77, as though fully set forth at length.

79. Honeywell represented to Teledyne that Honeywell intended to pursue
in good faith a relationship with Teledyne to solve Honeywell's aircraft data
acquisition and transmission problems and requirements

80. On information and belief, these representations were false, and
Honeywell knew that they were false when made On information and belief,
Honeywell in actuality intended to manufacture a solution to its data acquisition and
transmission problems itself after receiving confidential and other information from
Teledyne

81. On information and belief, Honeywell made these representations to
Teledyne with the intent that Teledyne would rely on these representations to enter
into the Confidential Disclosure Agreement with Honeywell and to induce Teledyne

to disclose confidential and other information about Teledyne's wireless data

 

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acquisition and transmission technology to Honeywell.

82. Teledyne was unaware of the falsity of Honeywell's representations and
justifiably relied on them in entering into the Agreement and disclosing confidential
and other information to Honeywell about Teledyne's wireless data acquisition and
transmission technology.

83. As a result of the aforementioned conduct, Teledyne has suffered

damages and will imminently suffer further damages, including the loss of its trade

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FIRST AMENDED COMPLAINT

Case 2:06-cv-06803-|\/||\/|I\/|-SH Document 29 Filed 10/31/07 Page 19 of 43 Page |D #:89

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secrets and competitive position. Such damages cannot presently be ascertained
with precision.

84. The aforementioned conduct has been despicable, wanton, oppressive7

 

willful, malicious, duplicitous, and performed with conscious disregard of
Teledyne's rights and with the intent to deprive Teledyne of its rights Accordingly,

Teledyne is entitled to an award of punitive and exemplary damages

EIGHTH CLAIM FOR RELIEF
(Negligent Misrepresentation - Cal. Civ. Code §§ 1709-10 and 1572)

 

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85. Teledyne incorporates by reference each and every allegation contained

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in paragraphs 1 through 84, as though fully set forth at length.

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86. Honeywell represented to Teledyne that Honeywell intended to pursue

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in good faith a relationship with Teledyne to solve Honeywell's aircraft data

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acquisition and transmission problems and requirements

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87. On information and belief, these representations were false when made

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and were made without any reasonable ground for believing them to be true On

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information and belief, Honeywell in actuality intended to manufacture a solution to

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its data acquisition and transmission problems and requirements itself after receiving

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confidential and other information from Teledyne

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88. On information and belief, Honeywell made these representations to

 

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Teledyne with the intent that Teledyne would rely on these representations to enter

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into the Confidential Disclosure Agreement with Honeywell and to disclose

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confidential and other information about Teledyne's wireless data acquisition and

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transmission technology to Honeywell.

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89. Teledyne was unaware of the falsity of Honeywell's representations and

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justifiably relied on them in entering into the Agreement, and disclosing confidential

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and other information to Honeywell about Teledyne's wireless data acquisition and

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transmission technology.

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FIRST AMENDED COMPLAINT

 

Case 2 OG-cV-06803-I\/|I\/|I\/|-SH Document 29 Filed 10/31/07 Page 20 of 43 Page |D #:90

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90. As a result of the aforementioned conduct, Teledyne has suffered

damages and will imminently suffer further damages including the loss of its trade

secrets and competitive

 

 

with precision.

PRAYER FOR RELIEF

 

WHEREFORE, Teledyne prays for judgment against Honeywell as follows:

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A. That Honeywell has infringed and is infringing the '990 patent, and that

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such infringement is willful;

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B. That Honeywell and its subsidiaries affiliates parents successors

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assigns officers agents representatives servants and employees and all persons in

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active concert or participation with them, be preliminarily and permanently enjoined

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from continued infringement of the '990 patent;

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C. That Honeywell be ordered to pay Teledyne its damages caused by

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Honeywell's infringement of the '990 patent, and that such damages be trebled,

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together with interest thereon;

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D. That this case be declared exceptional pursuant to 35 U.S.C. § 285 and

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that Teledyne be awarded its reasonable attorneys' fees and costs;

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E. That Teledyne recover the greater of the amount of Honeywell's unjust

 

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enrichment or its actual damages and lost profits arising from Honeywell's breach of

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the Confidential Disclosure Agreement, misappropriation of Teledyne's trade secret

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information, intentional and negligent interference with Teledyne's prospective

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economic advantage, and intentional and negligent misrepresentation, in an amount

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to be proved at trial, and recover statutory damages pursuant to California Civil

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Code Sections 3426-3426.10, and the common law, together with interest thereon

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from the dates such damages were incurred or profits lost;

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FIRST AMENDED COMPLAINT

 

Case 2

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F. That Honeywell, as well as its employees and agents and all those
acting in concert or participation with them, be preliminarily and permanently

enjoined from disclosing or using any of Teledyne'< confidential7 prgpri@tmy nr

 

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trade secret information regarding Teledyne's wireless data acquisition and
transmission technology;

G. That Honeywell pay to Teledyne the full cost of this action and
Teledyne's reasonable attorneys' fees pursuant to California Civil Code Section

3426.4;

 

H. That Honeywell be ordered to pay Teledyne punitive and exemplary
damages pursuant to California Civil Code Section 3426.3(c) and 3294, and the
common law, in a sum sufficient to punish Honeywell, and to make an example of
it, and deter it from similar wrongdoing; and

I. That Teledyne have such other and further relief as the Court deems

just and proper.

DATED: September _ZL_, 2007 QUINN EMANUEL URQUHART ()LIVER &
HEDGES, LLP

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Frederick A. ofig _ f
Attorne s for Plaintiff Teledyne
Techno ogies Incorporated

 

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Teledyne hereby demands a trial of all issues by jury.

DATED: September L, 2007 QUINN EMANUEL URQUHART OLIVER &
HEDGES, LLP

By \‘5 V} ‘
Frederick A. Lori _
Attorneys f_`or Plaintiff Teledyne
Techno ogies Incorporated

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FIRST AMENDED COMPLAINT

 

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(12) United States Patent
Grabowsky et al.

US 6,181,990 Bl
Jan. 30, 2001

(io) Patent No.:
(45) Date of Patent:

 

(54) AIRCRAFI` FLIGHT DATA ACQUISI'I`ION

(75) lnventors: John Francls Grabowsky, Camarillo;
David Ray Stevens, Simi Valley, both
of CA (US)

(73) Assignee: Teledyne Technologles Inc., Los
Angeles, CA (US)

( *) Notice: Under 35 U.S.C. 154(b), the term of this

patent shall be extended for 0 days

(21) Appl. No.: 09/126,156

(22) Fiied; Jui. 30, 1998

(si) intd cl.7 ............................. HMB 7/00; GosF i7/40;
oan 13/00

(52) U.s. cl. ................................ 701/14; 701/35; 455/431

   
 

(58) Fleld of Search .. ...... 701/14, 3, 24,

751 455/431, 422, 456
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Pn`mary Examiner_William A. Cuchlinski`, Jr.

Assistant Examiner_Eric M Gibson

(74) Attomey, Agenl, or Firm_Kjrkpatrick & Lockhart
LLP

(57) ABsTRAcT

An aircraft data transmission system used with an aircraft
having a data acquisition unit, The system includes a com-
munications unit located in the aircraft and in communica-
tion with the data acquisition unit. The system also includes
a cellular infrastructure in communication with the data
communications unit after the aircraft has landed. The
system further includes a data reception unit in communi-
cation with the cellular infrastructure

33 Claims, 10 Drawing Sheets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AIRCRAFI` FLIGHT DATA ACQUISI'I`ION
AND TRANSM[SSION SYSTEM

CROSS-REFERENCE 'l`O RELATED
APPLlCATIONS

(Not Applicable)

S’I`A'I'EMENT REGARDING FEDERALLY
SPONSORED RESEARCH

(Not Applicable)

BACKGROUND OF THE lNVENTlON

1. Field of the lnvention

The present invention is directed generally to an aircraft
flight data acquisition and transmission system and, more
particularly, to an on-board cellular data transmission sys~
lem.

2. Description of the Background

lt is common for aircraft to generate records of data
relating to flight and performance parameters for each flight
of the aircraft. The data typically relate to parameters such
as air speed, altitude, vertical acceleration, heading, time,
etc. 'l`he data are utilized in the event of an accident or a
near-accident and to assist in maintenance of the aircraft by
detecting faulty components or gradual deterioration of a
system or component, to assist in reviewing crew
performance, and to assist in logistical planning activities
such as scheduling and routing.

Aircraft data are typically gathered by a digital night data
acquisition unit (DFDAU). The DFDAU typically stores the
data on magnetic or magnetic-optical media. When the
aircraft lands, ground personnel board the aircraft, remove
the media, and mail the media to a flight operations center
(FOC). The manual removal and posting of the data adds a
significant labor cost, yields less than desirable data delivery
reliability, and results in a significant time delay before the
data are useful for analysis

lt is known to use radio frequency (RF) transmissions to
transmit data relating to an aircraft. Such teachings,
however, require substantial investments to construct the RF
transmission systems required for such a system to work.
Furthermore, it is very expensive to create redundancy in
such a system.

lt is also known to transmit data relating to an aircraft via
a telephone system located in a terminal. Such a system,
however, requires that the aircraft be docked at the gate
before transmission begins, thereby resulting in a substantial
riplml in the tro
requires an added step of transmitting the data from the
aircraft to the terminal telephone system, increasing the cost
of installing, operating, and maintaining such a system.

'Ihus, there is a need for an aircraft data transmission
system that automatically transfers flight data from an
aircraft to a flight operations center with little or no human
involvement and which relies on a reliable wireless delivery
system.

SUMMARY OF THE INVEN'I'ION

The present invention is directed to an aircraft data
transmission system used with an aircraft having'a data
acquisition unit. 'l`he system includes a communications unit
located in the aircraft and in communication with the data
acquisition unit, The system also includes a cellular infra-
structure in communication with the data communications

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unit after the aircraft has landed. The system further includes
a data reception unit in communication with the cellular
infrastructure.

The present invention represents a substantial advance

5 over prior aircraft data acquisitian_am_tcansmisicnsystems._

For example, the present invention has the advantage that it
requires little expense to implement because it uses well-
known technology and the cellular infrastructure which is
already in place. The present invention also has the advan-

10 tage that it can transmit data over multiple parallel channels

to achieve the necessary transmission bandwidth and
achieve a low data transmission time. The present invention
has the further advantage that it does not require a dedicated
data link between the aircraft and the flight operations center

15 and/or an airport terminal.

BRIEF DESCRIPTION OF THE DRAWING

For the present invention to be clearly understood and
readily practiced, the present invention Will be described in
conjunction with the following figures, Wherein:

FIG. 1 illustrates an aircraft data acquisition and trans-
mission system;

FIG. 2 is a block diagram illustrating a more detailed

25 embodiment of the system illustrated in FIG. 1;

FIG. 3 is a block diagram illustrating data dow through
the system illustrated in FIG. 2;

FlG. 4 is a liowchart illustrating a method carried out by
the gatelink processor in the aircraft;

FlG. 5 is a llowchart illustrating a method of performing

*' the start primary data thread step of FIG. 4;

FIG. 6 is a flowchart illustrating a method of performing
the start secondary data threads step of FlG. 5;

FIG. 7 is a flowchart illustrating a method of operating the
gatelink processor in the flight operations center;

FIG. 8 is a Howchart illustrating a method of performing
the initialize session process step of FlG. 7;

FIG 9 ls a llowchart illustrating a method of performing
the data message process step of FIG 7;

FIG. 1015 a liowchart illustrating a method of performing
the end session process'step of FlG. 7; and

FlG. 11 is a block diagram illustrating another embodi-

45 ment of the system illustrated in FIG. 1.

DETAILED DESCRIPTION OF THE
lNVEN'I`lON

lt is to be understood that the figures and descriptions of

50 the present invention have been simplified to illustrate

e emen a are relevant Ior a clear understandlng 01 the
present invention, while eliminating, for purposes of clarity,
other elements found in a typical communications system. lt
can be recognized that other elements are desirable and/or

55 required to implement a device incorporating the present

invention. For example, the details of the cellular commu-
nications infrastructure, the lnternet, and the public-
switched telephone network are not disclosed. However,
because such elements are well known in the art, and

50 because they do not facilitate a better understanding of the

present invention, a discussion of such elemean is not
provided herein.

FIG. 1 illustrates an aircraft data acquisition and trans-
mission system 10. An aircraft 12, which has stored flight

65 data, is illustrated after landing. The aircraft 12 transmits

flight data as cellular communications signals to a cellular
infrastructure 14. The cellular infrastructure 14 acts as a

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communications channel to the communications medium
16. A night operations center 18 is connected to the medium
16 by any conventional connectivity medium such as, for
example, a leased line. Once the cellular connections are
made via the medium 16 data can now bidirectionally from
or to the aircraft.

FlG. 2 is a block diagram illustrating a more detailed
embodiment of the system 10 illustrated in FIG. 1. The
aircraft 12 includes a data system 19 having a data acqui-
sition unit 20. The data acquisition unit 20 includes a digital
night data acquisition unit (DFDAU) processor 22, which
includes a storage media for storing night data in a digital
format. The DFDAU processor 22 receives signals from
sensors 24 which sense parameters such as air speed,
altitude, vertical acceleration, heading, time, etc. The night
data are transferred to a communications unit 26 via a bus
28. The bus 28 is connected to an I/O interface 30 in the
communications unit 26. The I/O interface 30 can be a
standard bus interface such as, for example, an ARINC 429
bus interface.

'lhe l/O interface 30 is connected to a gatelink processor
32. The processor 32 can be a general purpose processor
such as a personal computer, a microprocessor such as an

, lntel Pentium® processor, or a special purpose processor
such as an application specific integrated circuit (ASIC)
designed to operate in the system 10. The processor 32 is
responsive to a weight-on-wheels signal, which acts as an
interrupt signal to signal the processor 32 to initiate trans-
mission or reception of the data when the aircraft 12 has
landed. Upon receipt of the weight-on-wheels signal from
the landing gear of the aircraft 12, the processor 32 prepares
the night data for transmission and transmits the data to a
multi-port serial card 34. Each l/O port of the card 34 is
attached to a cell channel which can open, sustain, and close
a physical, over-the -air channel to the cellular infrastructure
14. The cell channels 36 can transmit simultaneously and
can thus transmit data in parallel. Each cell channel 36 is
connected to an antenna matching network and a post
amplifier (not shown). An antenna 38 is installed in the
aircraft 12 so as to optimize free space radiation to the
cellular infrastructure 14.

The data are transmitted over a cellular airlink using the
physical layer modulation of the cellular infrastructure 14.
The cellular infrastructure 14 includes an antenna 40, which
is within free-space radiating range of the aircraft 12. The
antenna 40 is connected to a base station transceiver sub-
system 42. The subsystem 42 is connected to a base station
controller 44 which has a direct connection via a router (not
shown) to the lntemet 45. The night data are transmitted via

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A local router 46 in a data reception unit 47 of the night
operations center 18 is connected to the lntemet 45, such as
via a connection to the backbone of the lntemet 45. The
router 46 connects a local area network 48 to the lntemet 45.
The local area network can be of any type of network such
as, for example, a token ring network, an ATM network, or
an Ethernet network. Agatelink processor 50 is connected to
the network 48 and receives the night data for storage in an
attached storage unit 52. The storage unit 52 can be any type
of unit capable of storing data such as, for example, a disk
array or a tape drive. The.storage unit 52 makes the night
data available to data analysis applications 54 which can
analyze and/or report the night data to a user.

Data transfer can also occur from the night operations
center 18 to the aircraft 12. 'I`he data are transmitted via the
lntemet 45 and the cellular infrastructure 14 and received by

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the antenna 38. The serial card 34 receives the data from the
cell channels 36 and the processor 32 outputs the data, via
the l/O interface 30, to avionics 55.

FlG. 3 is a block diagram illustrating data now through
the system 10 illustrated in FlG. 2. The night data is stored
in the DFDAU processor 22 as a stored file 56. An appli-
cation layer 58 of an operating system 60 of the gatelink
processor 32 compresses, encrypts, and segments the data,
The operating system 60 can be any type of operating system
suitable such as, for example, UNIX. A typical stored file
may be compressed from approximately 40 Mbytes to
approximately 4 Mbytes. Compression may be done by any
compression method such as, for example, the method
embodied in the PKZIP® compression utility, manufactured
by PKWARE, lnc. Encryption can be accomplished using
any suitable asymmetric (public key) or symmetric encryp~
tion method such as, for example, the method embodied in
Data Encryption Software (DES), manufactured by Amen'-
can Software Engineering or the methods in the RCZ, RC4,
or RCS encryption software manufactured by RSA Data
Security, lnc. During segmentation individual datagrams of,
for example, 1024 bytes are formed and indexed for subse-
quent reassembly.

The operating system 60 passes the datagrams to a
network layer 62 which constructs UDP/IP packets from the
datagrams by adding message headers to the datagrams. The
network layer 62 then routes the packets to one of up to 16
peer-to-peer protocol (PPP) threads running within the oper-
ating system 60 at a data link layer interface 64. The PPP
threads convey the packets to the multi-port serial card 34
for transmission to the backbone 66 of the lntemet 45 via the
cell channels 36 to the cellular infrastructure 14. The packets
are received from the Internet 45 by the local router 46 in the
night operations center 18. The network layer 62 receives
acknowledgments of received packets from the gatelink
processor 50 in the night operations center 18. The network
layer 62 also re-queues packets that are dropped before
reaching the gatelink processor 50.

The local router 46 in the night operations center 18
receives the packets and routes them to the gatelink proces-
sor 50. A local network interface 68 receives the packets and
a data link layer interface 70 of an operating system 72
passes the packets to a network layer 74 of the operating
system 72. The operating system 72 can be any type of
suitable operating system such as, for example, UNlX. The
network layer 74 sends acknowledgments of successful
packet deliveries to the gatelink processor 32. The network
layer 74 also removes the UDP/IP headers and passes the
datagrams to an application layer 76. The application layer
76 reassembles, decrypts, and uncompresses the datagrams
to restore the night data to rts original fonn. The application
layer then passes the data to a stored nle 78 in the storage
unit 52. The functions performed by the aircraft 12 and the
night operations center 18 are similarly interchangeable
when data is transferred from the night operations center 18
to the aircraft 12.

FlG. 4 is a nowchart illustrating a method carried out by
the gatelink processor 32 in the aircraft. At step 82, the
gatelink processor 32 receives a weight-on-wheels interrupt
which signals that the aircraft has landed, and the data
transfer is initiated. The application layer 58 compresses the
night data at step 84 and encrypts the data at step 86. At step
88, the data is segmented into datagrams and UDP/lP
packets are constructed The packets are then placed in a
packet queue. 'l'he packets are then ready for transmission as
a fixed number of threads, corresponding to the number of
cell channels 36. At step 90, the primary data thread is

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started to make the initial call and open the communications
channel to the night operations center 18. A wait state at step
92 is invoked for a predetermined period of time (5 sec.) and
at step 94, the processor 32 determines if any threads are
active, i.e. if there are any packets that haven’t been trans-
mrtted or have been transmitted and dropped. lf there are no
packets remaining, the method is completed at step 96. lf
there are packets remaining, the method enters the wait state
at step 92 and subsequently determines if any threads are
active at step 94.

FlG. 5 rs a nowchart illustrating a method of performing
the start primary data thread step 90 of FlG. 4. At step 98,
the point~to-point protocol (PPP) connection is initiated for
the primary data thread through one of the cell channels 36
and the gatelink session is initiated at step 100. The sec-
ondary data thread transmissions are started at step 102. At
step 104, it is determined if any packets are left in the
primary data thread to be transmitted If so, the next packet
in the primary data thread is transmitted at step 106. lf no
packets are left to transmit in the primary data thread as
determined at step 104, it is determined if any of the
secondary data threads are active at step 108. lf so, the
process returns to step 104 and repeats step 108 until no
threads are active. lf no threads are active, the gatelink
session is ended at step 110 and the PPP connection for the
primary data thread is closed at step 112. At step 114, the
primary data thread step 90 is completed

FlG. 6 is a nowchart illustrating a method of performing
the start secondary data threads step 102 of FlG. 5. The
method is carried out in parallel for each secondary data
thread At step 116, the thread is set to active so that the
processor 32 can determine if any threads are active at step
108 of FIG. 5. The PPP connection for the secondary data
thread being transmitted is initiated at step 118. At step 120,
it is determined if any packets remain in the data thread lf
so, the packet rs transmitted at step 122 lf no packets remain
in the data thread, the PPP connection` rs closed at step 124
and the thread rs set to inactive at step 126. 'I'he method rs
completed at step 128.

FlG. 7 is a nowchart illustrating a method of operating the
gatelink processor 50 in the night operations center 18. At
step 130, a socket is opened to allow the operating system
72 in the processor 50 to receive and transport messages
across the lnternet 45. At step 132, the processor 50 waits for
a message from the lnternet 16. When a message is received,
the processor 50 determines if the message is a session
initiatialization message at step 134. lf the message is a
session initialization message, the processor 50 executes the
session initiatialization process at step 136 lf the message is

processor 50 determines if the message is a data message at
step 138. lf the message is a data message, the processor 50
executes the data message process at step 140. lf the
message is not a data message, the processor 50 determines
if the message is an end session message at step 142. lf the
message is an end session message, the processor 50
executes the end session process at step 144 and then returns
to step 132 to wait for additional messages..

FlG. 8 is a nowchart illustrating a method of performing
the initialize session process step 136 of FIG. 7. The
processor 50 allocates buffer space for subsequent data
reception at step 146. The processor 50 then sends a session
initialized data acknowledgment to the processor 32 at step
148. At step 150, the now returns to step 132 of FlG. 7.

f"lG. 9 is a nowchart illustrating a method of performing
the data message process step 140 of FlG. 7. At step 152, the

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received data message is copied to a bun"er and an acknowl-
edgment of the data received is sent at step 154. At step 156,
the now returns to step 132 of FlG. 7.

FlG. 10 is a nowchart illustrating the steps included in the
end session process step 144 of FlG. 7. At step 158. the
checksum is computed for the received data to check the
integrity of the data, 'Ihe checksum is checked at step 160
and, if it is correct, the processor 50 saves the buffer to a
temporary nle at step 162. The processor 50 then deerypts
the file at step 164 and uncompresses the file at step 166. The
processor 50 sends an end session acknowledge message to
the processor 32 at step 168 and at step 170, the now returns
to step 132 of FlG. 7. If the checksum is not correct, the
processor 50 sends an unsuccessful end session message,
which notifies the processor 32 to resend the data.

FlG. 11 is a block diagram illustrating another embodi-

ment ot` the system 10 illustrated in FIG. 1. 'l'he operation of
the system 10 of FlG. 11 is similar to that described in
conjunction with the system 10 of FlG. 2. However, the
night data is transmitted from the cellular infrastructure 14
to the night operations center 18 via the public-switched
telephone network 172. A modern bank 174 receives the data
via the PS'l'N 172. The data is then routed by the router 46
to the processor 50 via the network 48. The modern bank 174
can have a modern dedicated to receive data transmitted by
one of the cell channels 36.
v While the present invention has been described in con-
junction with preferred embodiments thereof, many modi-
fications and variations will be apparent to those of ordinary
skill in the art. For example, although the system has been
described hereinabove as transferring data from the aircraft,
the system can also be used to transfer data to the aircraft
with no modifications in the system. Also, the system may
be used to transmit data while the aircraft is in night.
Furthermore, the system may be used without encryption
and without data compression prior to sending data. The
foregoing description and the following claims are intended
to cover all such modincations and variations

What is claimed is:

1. An aircraft data transmission system, the aircraft having
a data acquisition unit, comprising:

a communications unit located in the aircraft and in

communication with the data acquisition unit;

a cellular infrastructure in communication with said com'
munications unit after the aircraft has landed, wherein
the communication is initiated automatically upon
landing of the aircraft; and

a data reception unit in communication with said cellular
infrastructure

is in communication with said cellular infrastructure via the
Internet.

3. The system of claim 1 wherein said data reception unit
is in communication with said cellular infrastructure via the
public switch telephone network.

4. The system of claim 1 wherein said communications
unit has at least one modern in communication with said
cellular infrastructure and said data reception unit has at
least one modern in communication with said cellular infra-
structure.

5. The system of claim l wherein said communications
unit includes:

a processor;

a serial card in communication with said processor;

at least one cell channel in communication with said serial

card; and

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at least one antenna in communication with said cell
channel.

6. The system of claim 1 wherein said cellular infrastruc-
ture includes:

ao_antenna;

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18. A method of transmitting aircraft night data from an
aircraft, comprising:
receiving night data from a data acquisition unit;

transmitting said night data via a cellular communications
infrastmct.ure_after_the_ai.rcraft_has landed, wherein th¢z

 

 

 

a transceiver subsystem in communication with said
antenna; and

a controller in communication with said transceiver sub-
system.

7. The system of claim 1 wherein said data reception unit

includes:

a router; and

a processor in communication with said router, said
processor having a storage unit.

8. A data system for an aircraft, comprising:

a digital night data acquisition unit in communication
with at least one sensor;

a processor in communication with said digital night data
acquisition unit;

a serial card in communication with said processor; and

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a plurality of cell channels in communication with said v

serial card, said cell channels for transmitting data via
a cellular infrastructure after the aircraft has landed,
wherein the communication between the cell channels
and the serial card is initiated automatically upon
landing of the aircraft.

9. The system of claim 8 further comprising an antenna in
communication with said cell channels

10. The system of claim 8 wherein said processor includes
a personal computer.

11. The system of claim 8 wherein said processor includes
an ASIC.

12. 'l`he system of claim 8 wherein said processor includes
a microprocessor.

13. The system of claim 8 wherein said processor has an
l/O interface in communication with said digital night data
acquisition unit.

14. An aircraft, comprising:

a digital night data acquisition unit in communication

with at least one sensor; and

a communications unit in communication with said digital

night data acquisition unit, said communications unit

including: y

a processor in communication with said digital night
data acquisition unit;

a serial card in communication with said processor; and

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cellular communications infrastructure is accessed
automatically upon landing of the aircraft; and
receiving said transmitted night data.

19. Acomputer-implemented method of transmitting air-
craft night data from an aircraft, comprising:

receiving night data from a digital night data acquisition

unit;

processing said night data to prepare said data for trans-

mission; and

transmitting said processed data via a cellular infrastruc-

ture after the aircraft has landed, wherein the cellular
infrastructure is accessed automatically upon landing
of the aircraft,

20. The method of claim 19 further comprising receiving
said transmitted data at a night operations center.

21. The method of claim 20 further comprising receiving
said transmitted data and transmitting said received data via
the lntemet before receiving said transmitted data at a night
operations center.

22. The method of claim 20 further comprising receiving
said transmitted data and transmitting said received data via
the public-switched telephone network before receiving said
transmitted data at a night operations center.

23. The method of claim 19 wherein processing said night
data includes:

compressing said night data;‘

encrypting said night data;

segmenting said night data; and

constructing packets of data from said segmented night

data. -

24. The method of claim 19 wherein receiving said
transmitted data includes:

acknowledging receipt of said transmitted data;

reassembling said received data;

decrypting said reassembled data;

uncompressing said decrypted data; and

storing said uncompressed data,

25. A computer-implemented method of transmitting air-
craft night data from an aircraft, comprising:

receiving night data from a digital night data acquisition

unit;

a Pl“r_ality Of cell channels in communication vf'ith Said 50 processing said night data to prepare said data for trans-

via a cellular infrastructure after the aircraft has
landed, wherein the communication between the cell
channels and the serial card is initiated automatically
upon landing of the aircraft
15. An aircraft data transmission system, the aircraft
having a data acquisition unit, comprising:
means for transmitting data from the data acquisition unit
via a cellular infrastructure after the aircraft has landed,
wherein transmission of the data is initiated automati~
cally upon landing of the aircraft; and
means for receiving said data from said cellular infra-
structure.
16. The system of claim 15 wherein said means for
transmitting data includes a processor.
17. The system of claim 15 wherein said means for
receiving data includes a processor.

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transmitting said processed data via a cellular infrastruc-

ture after the aircraft has landed, wherein processing

said night data includes:

receiving a weight-on-wheels signal;

initiating a data transfer;

compressing said night data;

encrypting said compressed data;

creating a packet queue;

starting a primary data thread;

waiting a predetermined period of time;

determining if any threads are active;

repeating, when threads are active, the steps of waiting
a predetermined period of time and determining if
any threads are active; and

exiting processing said night data when no threads are
active.

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26. The method of claim 25 wherein starting a primary
data thread includes:

initiating a PPP connection;
initiating a transfer session;
_starting-at-least-one-seeendar=y-data-thread;

determining if data remains in the primary data thread;

sending said data when data remains in the primary data

thread;

determining if data threads are active when no data

remains in the primary data thread;

repeating, when said threads are active, the step of deter-

mining if data remains in the primary data thread;
ending said session when no threads are active;

closing said PPP connection; and

exiting starting a primary data thread.

27. The method of claim 26 wherein starting at least one
secondary data thread includes:

(a) setting the secondary data thread to active;

(b) initiating a PPP connection;

(c) determining if data remains in the secondary data

thread;

(d) sending a data packet when data remains;

(e) repeating step c when data remains;

(i) closing said PPP connection when no data remains;

(g) setting the secondary data thread to inactive;

(h) exiting starting at least one secondary data thread; and

(i) repeating steps a through h for each secondary data

read.

28. The method of claim 27 wherein repeating steps a
through h includes repeating steps a through h in parallel for
each said secondary data thread.

29. A computer-implemented method of transmitting air-
craft iiight data from an aircraft, comprising:

receiving Hight data from a digital flight data acquisition

unit;

processing said iiight data to prepare said data for trans-

mission; and

transmitting said processed data via a cellular infrastruc-

ture after the aircraft has landed; and

receiving said transmitted data at a flight operations

center, wherein receiving said transmitted data
includes:

creating a socket;

receiving a message;

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determining if said message is an initialization mes-
sage;

initiating a session when said message is an initializa-
tion message;

determining if said message is a data message when
said message is not an rnrtralrzatron message;

processing said message when said message is a data
message;

determining if said message is an end session when said
message is not a data message;

processing said message when said message is an end
session; and

repeating, when said message is not an end session
message, the step of receiving a message.

30. The method of claim 29 wherein initializing a session
includes:

allocating buffer space;

sending an initiation session acknowledgment; and

returning to receiving a message,

31. The method of claim 29 wherein processing said
message/when said message is a data message includes:

copying said message to a butfer;

sending a data message acknowledgment; and

returning to receiving a message.

32. The method of claim 29 wherein processing said
message when said message is not an end session includes:

computing a checksum;

determining if said checksum is valid;

saving a buffer to a temporary file;

decrypting said temporary file;

uncompressing said temporary file;

sending an end session acknowledgment; and

returning to receiving a message.

33. A computer readable medium having stored thereon
instructions which when executed by a processor, cause the
processor to perform the steps of:

receiving Hight data from a digital flight data acquisition

unit in an aircraft;

processing said flight data to prepare said data for trans-

mission; and

transmitting said processed data via a cellular infrastruc-

ture when said aircraft has landed, wherein the cellular
infrastructure is accessed automatically upon landing
of the aircraft.

 

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(12) EX PARTE REEXAMINATION CERTIFICATE (5393rd)

United States Patent

(10) Number:

US 6,181,990 Cl

 

 

 

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Grabowsky et al. (45) Certiticate Issued: Jun. 6, 2006
(54) AIRCRAFT FLIGHT DATA ACQUISITION 5.359,446 A lO/l994 Johnson et al.
AND T , , rees Ng
5,463,656 A 10/ 1995 Polivka et al. .............. 375/200
(75) Inventors: John Francis Grabowsky, Camarillo, ;»$;z';;; 2 ;;:§g; gille§k°ttal~l ~~~~~~~~~~~~~ 354/578
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€£]$S()::AD§J‘;‘; R°y Steve"s’ S"m 5,943,399 A 8/1999 Banniscer et al. ........ 379/38.17
’ 6,047,165 A 4/2000 Wright et al. .......... 455/66
(73) Assignee: Teledyne Technologies Incorporated, l ;::g;:§;; t §§ggg aggth § ill :;§;gg
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Reexamlnation Certlticate fort §§ g 321 32 gil ;;:§;
Patent NG.Z 6,181,990 Ep 0 408 094 Bl 7/1997
lSSve¢ Jan- 30, 2001 GB 2 276 006 A 9/1994
Appl. No.: 09/126,156
piled: Jul_ 30, 1993 OTHER PUBLICATIONS
(51) ln¢_ Cl_ Airlines Electronic Engineering Committee, ARINC Char-
H04B 7/00 (2()()6_01) acteristic 751, “Gate-Aircraft 'I`erminal Environment Link
Go§F 13/00 (2006_01) (Gatelink)-Aircrah Side”, Published Jan. l, 1994.
Airlines Electronic Engineering Committee, Specification
(52) v.s. Ci. ............................. 101/14; 701/35; 701/16; 631 "Gate“Aimaft Temlinal Envimnmem Link
455/431; 342/33; 73/178 T (Gatelink)-Ground Side”, Published Dec. 30, 1994.
(58) Fleld of Classlticatlon Search ..................... 701/3, ~ ~ _ -
701/14, 16; 340/945, 947, 943, 951, 960~, P"'”‘"y Ex°'"'"e' Y' Bea“he“
73/ 178 T; 342/33 (57) ABSTRACT
See application file for complete search history. , _ . . .
An aircraft data transmission system used with an aircraft
(56) References C“ed having a data acquisition unit. The system includes a com~
munications unit located in the aircraft and in communica-
U‘S- PATENT DCCUMENTS tion with the data acquisition unit. The system also includes
4,642`775 A 2/1987 Clioe et al a cellular infrastructure in communication with the data
4,872,187_ A 10/1989 MCRala et all communications unit after the aircrait has landed. The
4,939,652 A 7/1990 greiner system further includes a data reception unit in communi-
5,351,194 A 9/ 1994 Ross et al. 364/449 cation with the cellular infrastructure

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EX PARTE
REEXAMINATION CERTIFICATE
ISSUED UNDER 35 U.S.C. 307

_THE'PNFEN=I`_IS_HERE`BYT’¥MENDED AS
INDICATED BELOW.

Matter enclosed in heavy brackets [ ] appeared in the
patent, but has been deleted and is no longer a part of the
patent; matter printed in italics indicates additions made
to the patent.

AS A RESUL'I` OF REEXAMINATION, lT HAS BEEN
DETERNHNED THAT:

The patentability of claims 8-14 and 25-32 is confirmed

Claims l, 15, 18, 19 and 33 are determined to be patent-
able as amended.

Claims 2-7, 16, 17 and 20-24, dependent on an amended
claim, are determined to be patentable

New claims 34-51 are added and determined to be
patentable.

l. An aircran data transmission system, the aircraft having
a data acquisition unit, and the aircraft including a data
storage medium having stored thereon flight data gathered
in~flight by at least a first sensor on the aircra/i, comprising:

a communications unit located iri the aircraft and in
communication with the data acquisition unit;

at least a second sensor confgured to sense a landing of
the aircraft;

a cellular infrastructure in communication with said com-
munications unit after the aircraft has landed, wherein
the cellular infrastructure communicates said flight
data, and wherein the communication is initiated [auto-
matically upon] when at least the second sensor senses
the landing of the aircraft; [and]

a data reception unit in communication with said cellular
infrastructure; and

wherein said flight data includes time, airspeed, altitude,
vertical acceleration, and heading data relating to a

flight of the aircraj?.

15. An aircraft data transmission system, the aircraft
having a data acquisition unit, the aircraft including a data
storage medium having stored thereon flight data gathered

sensing means for sensing a landing of the aircraji;

means for transmitting said flight data from the data
acquisition unit, via a cellular infrastructure after the
aircraft has landed, wherein transmission of the data is
initiated [automatically upon] when the sensing means
sense the landing of the aircraft; [and]

means for receiving said flight data from said cellular
infrastnicture; and

wherein said flight data includes time, airspeed, altitude,
vertical acceleration, and heading data relating to a

flight of the aircraft.

18. A method of transmitting aircraft night data from an
aircraft, comprising:

receiving night data from a data acquisition unit;

receiving a signal indicating a landing of the aircraft from
at least a first sensor;

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transmitting said night data via a cellular communications
infrastructure alter the aircraft has landed, wherein the
cellular communications infrastructure is accessed
[automatically upon landing of the aircraft] in response
5 to the signal; [and]
receiving said transmitted night data; and
wherein said flight data is gathered in-fiight by at least a
second sensor on the aircraft, and includes time,
airspeed, altitude, vertical acceleration, and heading
data relating to a flight of the aircraft,
19. A computer-implemented method of transmitting air-
craft night data from an aircraft, comprising:
receiving night data from a digital night data acquisition
unit, wherein said flight data is gathered in;/light by at

15 least a frst sensor on the aircrafi, and includes time,
airspeed, altitude, vertical acceleration, and heading
data relating to a flight of the aircraft;

receiving a signal indicating a landing of the aircraft jiom
20 at least a second sensor,'

processing said night data to prepare said data for trans~

mission; and

transmitting said processed data via a cellular infrastruc-

ture after the aircraft has landed, wherein the cellular

25 infrastructure is accessed [automatica|ly upon landing
of the aircran] in response to the signal.

33. A computer readable medium having stored thereon
instructions which when executed by a processor, cause the
processor to perform the steps of:

30 receiving night data from a digital night data acquisition
unit in an aircran, wherein said flight data is gathered
in-flight by at least a first sensor on the aircraft, and
includes time, airspeed, altitude, vertical acceleration,
and heading data relating to a flight of the aircraji,‘

35 receiving a signal indicating a landing of the aircraft from

at least a second sensor;
processing said night data to prepare said data for trans-
mission; and
transmitting said processed data via a cellular infrastrac-
ture when said aircraft has landed, wherein the cellular
infrastructure is accessed [automatically upon landing
of the aircmn] in response to the signal.
34. The system of claim 1 wherein the cellular infrastruc-
ture is a cellular telephone infrastructure
35 The system of claim 34, wherein said data reception
unit is in communication with said cellular infrastructure via
the Internet.

36 The system of claim 34, wherein said data reception
unit is in communication with said cellular infrastructure via
linn/z nom/nrlr

3 7. The system of claim 34, wherein said data communi-
cations unit has at least one modern in communication with
said cellular infrastructure and said data reception unit has
at least one modern in communication with said cellular
infrastructure

38. The system of claim 34, wherein said communications
unit includes:

a processor;

60 a serial card in communication with said processor,‘

at least one cell channel in communication with said

serial card,' and

at least one antenna in communication with said cell

channel

65 39. The system ofclaim 34, wherein said cellular infra-

structure includes:

an antenna;

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a transceiver subsystem in communication with said
antenna,' and

a controller in communication with said transceiver sub-
system.

40. The system of clM._wherein_said_dara m~plnrinn

unit includes:
a router; and

a processor in communication with said router, said

processor having a storage unit.

41 . The system of claim 15, wherein the cellular infra~
structure is a cellular telephone infrastructure

42. The system of claim 41, wherein said means for
transmitting data includes a processor:

43. The system of claim 41 , wherein said means for
receiving data includes a processor.

44. Yhe method of claim 18, wherein the cellular com-
munications infrastructure is a cellular telephone infra-
structure

45. The method of claim 19J wherein the cellular infra-
structure is a cellular telephone infrastructure

46. The method of claim 45 further comprising receiving
said transmitted data at a flight operations center.

4 7. Ihe method of claim 46 further comprising receiving
said transmitted data and transmitting said received data via

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the Internet bef)re receiving said transmitted data at a flight
operations center

48. The method of claim 46j1rther comprising receiving
said transmitted data and transmitting said received data via
the public-switched telephone network bej?)re receiving said
transmitted data at a flight operations center.

49. lhe method of claim 45 wherein processing said flight
data includes:

compressing said flight data;

encrypting said flight data;

segmenting said jiight data; and

constructing packets of data from said segmented flight

data.

50. The method of claim 45 wherein receiving said
transmitted data includes:

acknowledging receipt of said transmitted data;

reassembling said received data;

decrypting said reassembled data;

uncompressing said decrypted data; and

storing said uncompressed data,

51 . The method of claim 33, wherein the cellular infra-
structure is a cellular telephone infrastructure

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CONFIDENTIAL DISCLOSURE AGREEMENT

 

THIS AGREEMENT' rs made by and between Teledyne Controls, having a principal office at 12333

 

 

 

ANY" , and
Honeywell Intemational Inc, a D‘elaware corporation acting through Honeywell Engines, Systems
and Services, having a principal place ofbusiness at l l l South 34th Street, Phoenix, Arizona 85034
(“HONEYWELL").

WHEREAS, COMPANY is a manufacturer ofWireless Ground Link and possesses
certain information, data, and experience relating thereto (hereinatter "INFORMA'I`ION" as applied
to COMPANY) which it considers to be conlidential, proprietary, and a valuable commercial asset of
COMPANY;

WHEREAS, HONEYWELL represents that rt possesses certain experience relating to
B_usiness Aviation Aireratt powered by Honeywell TFE731 and AS900 engines (hereinaiter
"INFORMATION" as applied to HONEYWELL) which rt considers to be confidential, proprietary,
and a valuable commercial asset of HONEYWELL; and

WI{EREAS, COMPANY and HONE¥WELL (hereinaiter "PARTIES"), desire to
facilitate discussion between the PARTIES, COMPANY is willing to disclose its INFORMATION
to HONEYWELL, to the extent COMPANY considers reasonably necessary, and HONEYWELL is
willing to disclose its IN'FORMATION to COMPANY, to the extent HONEYWELL considers
reasonably necessary, to enable the PARTIES to technically evaluate the other INFORMATION for
the purpose of discussing possible application of the Wireless Ground Link product to transmit
engine data for processing and of furthering the business relationship between the PARTIES, and

` both COMPANY and HONEYWELL are willing to receive respective INFORMATION subject to
the terms and conditions hereinafter set forth.

NOW, THEREFORE, in consideration of the undertakings hereunder, both
PARTIES, intending to be legally bound, hereby agree as follows:

l. It is understood and agreed that each I’ARTY shall treat all NFORMAUON
hereafter received or acquired, directly or indirectly, from the other as confidential and with the same
degree of care with which it treats and protects its own proprietary information of similar character to
prevent disclosure Honeywell Engines, System and Services, located at l l l South 34th Street,
Phoenix, Arizona 85034, shall not disclose lNFORMATION to other than its officers and employees
who need to receive such INFORMATION for purposes of discussion, and who are informed of the
obligations of this Agreement. Teledyne Controls, located at 12333 West Olympic Boulevard, Los
Angeles, California 90064, shall not disclose INFORMATION to other than its officers and
employees who need to receive such INFORMATION for purposes of discussion, and who are
informed of the obligations of this Agreement The receiving PARTY shall not use any of the
lNFORMATION of the other except as contemplated by this Agreement.' Such INFORMA'I`ION

 

 

and may include drawings and specifications Such INFORMATION shall be either intangible form f
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Exhibit B

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marked as confidential at the time of disclosure or later identified in writing as confidential within
thirty (30) days thereader.

Infonnatiori shall be considered as Contidential Irrfomiation by the Recipient only if such

 

 

information disclosed orally shall be eoiisidered Proprietary Information if it is (a) identified as
confidential, proprietary, or the like at the time of disclosure and (b) continued in writing within
thirty (30) days of first disclosure

Each FARTY will designate in writing one or more individuals within their own organizations as the
only person(s) authorized to receive INFORMATION pursuant to this Agreement. Such persons are:

COMPANY HGNEYWELL
Tamas Igloi Carl Kotlarz

Each PARTY may change its designation by written notice to the other. However, all properly
marked IN'FORMA'I'ION shall be protected as required by this Agreement even if not furnished to
the designated points of contact listed above.

2. It shall be understood that the obligations of Paiagraph l shall not apply to
. information which either COMPANY or HONEYWELL can establish:

(a) by documented records is known to the receiving PARTY prior to receipt
from the other; or

(b) is or becomes available to the public generally other than by or through acts
or omissions in breach of this Agreement by the receiving PARTY; or

(c) is rightfully obtained by the receiving PARTY without restriction from
sources, other than the disclosing PARTY, who are rightfullyin possession of
such information and who are not lmown to be under any obligation of
confidentiality to the disclosing PARTY; or

(d) was disclosed with the COMPANY’S written consent, or, was disclosed to
HONEYWELL by the COMPANY without any identification that it was
confidential or proprietary. g

(e) is independently developed by or for one PARTY without recourse to any
INFORMA'I`ION of the disclosing PARTY.

For purposes of Paragraph 2, it is understood and agreed that specific technical

 

information which the recein PARTY may obtain hereunder shall ot be
merely because individual features or parts of the INFORMATION are embraced within the scope of
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Exhibit B
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more general information known to that PARTY, available to the public generally, obtained from
other sources, or independently developed.

3. Both PARTIES agree that all tangible embodiments ofINFORMATION made

 

 

 

not be reproduced by the receiving PARTY without written consent of the other, and shall be
returned to the disclosing PARTY promptly upon written request made by the disclosing PARTY.

4. Except as provided herein, it is understood and agreed that no right or license
is granted or implied by this Agreement to a PARTY under any patents or patent applications,
proprietary information or other intellectual property right owned or controlled by the other PARTY.

5. INFORMATION maybe disclosedto eachPARTY under this Agreement for

a period of one (l) year from the date last signed below, unless earlier terminated by either PARTY

_ upon thirty (3 0) days' prior written notice to the other. Both PAR'l'lES' obligations of contidentiality,

nondisclosure and nonuse shall terminate at the expiration of three (3) years from the last date of
disclosure hereunder

6. Both PARTIES will adhere to all U.S. applicable laws, regulations and rules
relating to the export of technical data and products and shall not export or re~export any technical
data, any products received from the other, or the direct product of such technical data to any
proscribed country listed in such applicable laws, regulations and rules, unless properly authorized

7. This Agreement is under the laws of the State of California, USA. It may not
be amended or modified except in writing signed by both PARTIES. lt is the entire agreement
between the parties regarding the subject matter hereof and supersedes any prior agreernent,
understanding or discussion on said subject matter. A waiver of, or faier to enforce any provision
or right hereunder shall not be effective or charged against a party unless in writing and signed by the
waiving party, shall not be deemed a waiver of any other or subsequent breach of this Agreernent;
and shall not prevent subsequent enforcement of the provision or right.

Honeywell Engines, Systerns and Services TEL ' C NTRO \ 4/
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Typed Name: § mcf f {¢3€¢// 'I`yped Name: David A. Frieden

Title:§ zgs)a¢_.qg §§9&@1' gin Title: Director of Contracts&.Pricin
Date: 0707/%1/~%`& t_.7dc»’2.7 Date: 2/%/£/11/£@(` m

 

 

 

 

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